
980 So.2d 698 (2008)
Michelle M. DUFRENE
v.
GAUTREAU FAMILY, LLC, Gulf South Management, Inc. and Lafayette Insurance Company
Michelle M. Dufrene
v.
Gautreau Family, LLC, Gulf South Management, Inc. and Lafayette Insurance Company.
No. 2008-C-0628.
Supreme Court of Louisiana.
May 9, 2008.
In re Gautreau Family LLC et al.; Lafayette Insurance Co.; Gulf South Management Inc.;  Defendant(s); Applying for Writ of Certiorari and/or Review, Parish of Jefferson, 24th Judicial District Court Div. F, No. 581-128; to the Court of Appeal, Fifth Circuit, No(s). 07-CA-467, 07-CA-547.
Denied.
CALOGERO, C.J., recused.
VICTORY, J., would grant.
